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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK
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AUDEMARS PIGUET HOLDING S.A.,
AUDEMARS PIGUET (NORTH AMERICA)
INC.,

 

 

 

Plaintiffs,

12 Civ. 5423 (LAP)

_ V - _
OPINION AND ORDER
SWISS WATCH INTERNATIONAL INC.

d/b/a SWISS LEGEND d/b/a SWI GROUP;
:Ls HoLDINGs, LLC d/b/a
WORLDOFWATCHES.COM, and
LIOR BEN~SHMUEL,
Defendants. :
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LORETTA A. PRESKA, Chief United States District Judge:

Before the Court are two cross-motions to amend and correct
the judgment issued in this trademark infringement case on
August 20, 2014 [Dkt. nos. 196, 200, 207].1 The parties raise
two primary questions: (1) whether Plaintiffs are entitled to
treble damages under Section 1117(b) of the Lanham Act, 15
U.S.C. § 1117(b), or any other provision of law, and (2) whether
two Trimix watch models that were not considered by Judge Baer
at trial are covered by the injunction and recall order. For the
reasons discussed below, the Court finds that Defendants’

watches do not counterfeit the Royal Oak design and enhanced

damages are not appropriate. However, the two additional watch

 

l Unless otherwise noted, docket numbers referenced herein are
those assigned to documents in Case No. 12 Civ. 5423.

models SL-lOSqO and SL-10542 are not a safe distance from

Plaintiffs' registered trademark and will be enjoined.

I.Background

In June 2013, Judge Harold Baerr Jr. held a bench trial in

this case and issued an opinion containing findings of fact and

conclusions of law on January 6, 2014. [Dkt no. 165] (“the
January opinion”). In an August 20, 2014, opinion and judgment,
[Dkt no. 196] (“the August opinion") this court utilized these

findings to enter a judgment awarding trebled profits to
Plaintiffs, an order enjoining Defendants from further
infringements on the Royal Oak trade dress, and a recall of the
remaining Trimix inventory. Familiarity with both of these
opinions is assumed.

The trial in June 20l3 concerned only two Trimix models,
SL-10541 and SL-10534. Afterwards, Defendants voluntarily
identified SLMlGBEB as having the same attributes that Judge
Baer found to infringe on the Royal Oak trademark, and these
three models were explicitly named in the injunction (“the
enjoined models”). In August and September of 2013, Swiss
Legend began selling two new watch models, SL-10540 and SL-10542
(the “additional models”). Defendants claim that these new

models do not infringe Plaintiffs' trade dress because they have

no screws or bolts on the bezel of the watch. The model SLM
10542 has a plain bezel and the model SL»lOBeO has a “diver's
bezel” which includes minute and hour marks around the perimeter
of the watch. These designs had been in development prior to
trial, and prototypes were displayed at the 2012 Baselworld
watch trade show. They were not discussed at trial or during
post~trial correspondence concerning the text of the Court's
judgment. After this Court issued a final judgment, however,
Defendants contacted Plaintiffs to seek their agreement that the
additional models need not be recalled under the Court's order.
(Bi@ck necl. is, nrc No. 202.) After Plaintiffs objected to the
additional models, Defendants took steps to cease their sale

pending the Court's consideration of the motion at hand. (ld.

at ii4~5.)
II. Enhanced Damages
In Judge Baer’s January opinion, pre-trial damages were

trebled pursuant to 15 U.S.C. § 1117(b) on the grounds that the
enjoined models were counterfeits of the Royal Oak design. This
court correspondingly trebled post-trial damages in the August
opinion. Defendants ask for reconsideration of this decision on
the grounds that Judge Baer did not make an explicit finding in
his January opinion that Trimix watches meet the definition of a

“counterfeit” mark, “a spurious mark which is identical with, or

substantially indistinguishable from, a registered mark.” 15
U.S.C. § 1127.

To prevail on a request for reconsideration generally
requires “an intervening change of controlling law, the
availability of new evidence, or the need to correct a clear
error or prevent manifest injustice.” Virgin Atl. Airways, Ltd.

V. Nat'l Mediatiol’l Bd., 956 F.2d 1245, 1255 (Zd Cir. 1992).

 

Imposing a remedy specific to counterfeiting without applying
the legal standard that defines counterfeiting certainly rises
to this level.

Judge Baer's January opinion Cites U.S.C. § 1117(b), which
awards treble profits “in a case involving use of a counterfeit
mark” if it was used “intentionally. . . knowing such mark or
designation is a counterfeit mark (as defined in section 1116(d)
of this title}.” It goes on to address 15 U.S.C. § lllG(d),
which defines a “counterfeit mark” as “a counterfeit of a mark
that is registered on the principal register in the United
States Patent and Trademark Office for such goods or services
sold. . . whether or not the person against whom relief is
sought knew such mark was so registered.” The opinion concludes
that “[s]ince at least two of Plaintiffs’ marks were registered.

the Trimix watches are considered counterfeit under the

Lanham Act.” However, the opinion never cites the definition of

the term “counterfeit" itself given in 15 U.S.C. § 1127, “a
spurious mark which is identical with, or substantially
indistinguishable from, a registered mark” and never applies
that definition.

While Judge Baer did state that Defendant Ben-Shmuel likely
intentionally copied the Royal Oak design because “Defendants'
Trimix watch replicated almost identically the Plaintiffsr
protected trade dress" (emphasis added), this statement is not
connected to his analysis of counterfeiting and does not address
whether or not befendants' mark is a “spurious” one. (January
opinion, Dkt no. 165 at 31.) See GMA Accessories, lnc. v. BOP,
§§§, 765 F. Supp. 2d 457, 472 (S.D.N.Y. ZOll) aff'd sub nom GMA
Accessories, Inc. v. Elec. Wonderland, lnc., 558 F. App'X 116
(2d Cir. 2014) (noting that there is “little caselaw” fleshing
out “the requirement that a counterfeit mark be a ‘spurious'
mark" but applying the Black’s Law Dictionary definition of the
word as “[d§eceptively suggesting an erroneous origin; fake.”);
Q;S. v. Cone, 714 F.Bd 197, 207 (eth Cir. 2013} (also applying
the definition from Black’s Law Dictionary).

Because Judge Baer did not make a finding that the
infringing marks were “spurious” and “substantially
indistinguishable” from Plaintiffs' registered marks, the Court

must make this determination based on the record and an

examination of the watches in question. Having done so, the
Court finds that the Trimix watches do not counterfeit
Plaintiffs' registered trademarks.

Plaintiffs argue that the enjoined models contain a
counterfeit of their registered trademark for the bezel design
of the Royal Oak watch line. But while the Trimix octagonal
bezel does infringe on Plaintiffs' trademark, the two marks are
not “substantially indistinguishable.” The Trimix watches
contain bolts that are shaped differently from the Royal Oak
screws and are arrayed in a different pattern. Even if the mark
itself were indistinguishable, the context of the entire watch,
which includes a different canteen crown, watch band attachmentr
and watch face, as well as the Trimix and Swiss Legend names and
logosr make clear that Defendants' use of the bezel mark is not
“spurious.” The essence of counterfeiting is that the use of
the infringing mark “seeks to trick the consumer into believing
he or she is getting the genuine article, rather than a
‘colorable imitation.'” Gucci America, Inc. v. Guess?, Inc.,
868 F. Supp, 2d 207, 242 (S.D.N.Y. 2012). Here, Defendants
plainly are not passing off their design as a Royal Oak. §eey
e.g., Birmingham v. Mizuno USA, lnc., No. 5:09~CV-0566(GTS),
2011 WL 1299356, at *8 (N.D.N.Y. Mar. 31, 20ll) (finding that

marks were “placed on products that are substantially

distinguishable.”). Associated Gen. Contractors of Am. v.
Stokes, NO. l:ll-CV-795 {GBL), 20l3 WL ll555l2, at *6 (E.D. Va.
Mar. 19, 2013) (fact that mark was accompanied by distinct
company name precluded finding of counterfeiting).

Because Defendants’ watches infringe on Plaintiffs’
registered trade dress but do not counterfeit it, the profits
awarded to Plaintiffs should not be trebled. While there are
other legal avenues to enhance the award of damages, Plaintiffs
have not adequately established that they are entitled to these
special measures. Section 1117(a) allows the court to enter a
discretionary amount of damages as “compensation and not a
penalty” but only if the “recovery based on profits is
inadequate.” Plaintiffs have not established this. Nor have
they established that Defendants' willful infringement on their
trademark reached the heightened level required for punitive
damages under New York law.

Plaintiffs argue that Defendants should not be allowed to
contest whether the Trimix watches are counterfeit because they
failed to do so fully at trial. This argument is unpersuasive.
While counterfeiting must meet an additional legal standard, it
is essentially an extreme case of trademark infringement. §§e

Gucci America, Inc., 868 F. Supp. 2d at 242 (“[CEounterfeiting

 

is the ‘hard core' or ‘first degree’ of trademark infringement”)

(citation omitted). Defendants' vigorous defense against
trademark infringement was sufficient to oppose a finding of
counterfeiting. lt was not inappropriate for Plaintiffs to
tailor their arguments on reconsideration to the specific
questions most pressing to the court in light of Judge Baer's
findings.

Finally, Judge Baer's decision to award attorneys' fees and
costs to Plaintiffs will remain in place on the basis of 15
U.S.C. § 1117(a), which provides that “plaintiff shall be
entitled. . . to recover. . . the costs of the action” and that
“§t]he court in exceptional cases may award reasonable attorney
fees to the prevailing party." Judge Baer found explicitly that
Defendants acted in bad faith and relied on this finding
throughout his opinion, including in ordering the “extreme
remedy” of a recall. (January Opinion, Dkt no. 165 at 17, 19,
27, 33). See also Santana Products, lnc. v. Sylvester &
§§§ggiates, Ltd., 279 F. App'x 42, 43 {2d Cir. 2008) (citations
omitted) (“Attorney's fees should be awarded pursuant to § l117
‘only “on evidence of fraud or bad faith.”'”) Furthermore,
Plaintiffs’ request for attorneys’ fees was unopposed, and
Defendants have raised no further objections to it. {§ee D's

Resp. to Pl's Application for Additional Treble Profits and

Attorney's Fees and Costs, Dkt no. l82; D's Mem. Supp. Motion to

Amend and Correct Judgmentr Dkt no. 20l.)

lII. Additional Watch Designs

Both Judge Baer’s January opinion and this court’s August
judgment [Dkt nos. 165, 196] enjoined Defendants from
manufacturing or selling watches with “SKU numbers SLM10541, sL~
10534, SL»lO535, or any colorable variations thereof, or any
product containing a confusingly similar trade dress” and
required the recall of “all remaining inventory of any Trimix
watches, including. . . SKU numbers SL-10541, SL»10534, [and]
SLW10535.” The parties agree that at the time of his opinion,
Judge Baer believed that the enjoined models represented the
entire Trimix line. In view of the fact that future models may
be introduced under the trade name Trimix, which has not been
challenged as infringing in any way, this language will be
removed from the injunction.

Plaintiffs argue that the two additional Trimix models
should be enjoined as well either as colorable variations of the
infringing models or under the “safe distance rule,” the
principle that once a Defendant has infringed on a trademarkr he
or she must give it a wide berth. Oral-B Laboratories, Inc. v.

Mi-Lor Corp., 810 F.2d 20, 24 (2d Cir.l987) (“[I]t was

[defendant‘s] duty to keep a safe distance from the line drawn
by the district court's injunction ... a party who has once
infringed a trademark may be required to suffer a position less
advantageous than that of an innocent party."). See also
Majestic Drug Co. v. Olla Beauty Supply, Inc., No. 97 CIV. 0046
{LAP), 1997 WL 37955, at *l3 (S.D.N.Y. Jan. 3l, 1997).

Although it is a close question in this instance, l find
that the additional Trimix models are not a safe distance away
from Plaintiffs’ protected trademarks. While the additional
models lack the pattern of screws around their octagonal bezels,
they continue to share the overall shape of the Royal Oak
design, including the thick octagonal bezel around a round face
and sloping, unitary case. The overall effect of these design
elements is that the watch continues to look strikingly similar
to the enjoined models and to the Royal Oak. These models alone
might not have qualified as infringements, but their sale would
allow Defendants to continue profiting from a design concept
that drafts on the good will of Audemars Piguet.

Finally, Defendants had many opportunities to bring the
existence of these models to the court’s attention in order to
clarify their status. While these models may not have been sold
to the public until after trial, Defendants acknowledge that

prototypes existed as early as 2012. Furthermore, Defendants

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were invited to participate in the process of crafting a
judgment after the additional Trimix models were being sold and
failed to disclose their existence. In a January 30d1letter,
Defendants even pictured examples of other Swiss Legend watch
lines which they feared could be read to fall under the language
of the injunction: three models with round bezels that included
screws and the “Octomatic" watch, which had an octagonal bezel
and face and has repeatedly been remarked to bear little
resemblance to the Royal Oak. [Dkt. No. 171]. Judge Baer would
have been entitled to presume that these models were the closest
in appearance to the infringing models among Swiss Legend’s
line. Whether the omission of the additional Trimix models was
in bad faith or merely an oversight, it exemplifies the
gamesmanship Defendants might engage in, forcing Plaintiffs and
courts to expend great energy in policing future infringement.
The safe distance rule creates a buffer designed to spare
Plaintiffs from recurring, piecemeal actions to defend their
trademark. The additional models fall within that buffer zone.
The manufacture and sale of these additional Trimix models
will be enjoined. However, Defendants will not be required to
conduct a recall of them. n recall is an “extreme remedy”
requiring greater justification than an injunction alone.

Conopco Inc. v. BDO Co., 99 CV 10893(JSM), 1999 WL 1277957 at *3

 

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(S.D.N.Y. Dec. 7, 1999). Courts must consider (1)“the
defendant's good faith or bad faith,” (2) “the likelihood of
diversion of customers from plaintiff to defendant”, {3) “the
extent of the burden entailed in a recall,” and (4) “the
probability that the plaintiff would benefit from such an
order.” Cherry River Music Co. v. Simitar Entm'tr Inc., 38
F.Supp.Zd 310, 322 (S.D.N.Y.1999) (citing Perfect Fit. Indus.,

InC. v. Acm@ Quilting CO., 646 F.2d 800, 807 (2<3. Cir.l981)).

 

Recalls are often ordered “where there is evidence that a
defendant's infringement was intentional, including where the
defendant continued infringing after receiving notice of its
potentially unlawful conduct.” Tecnimed SRL v. Kidz~Med, Inc.,
763 F. supp. 2d 395, 414 (s.D.N.Y. 2011) aff'd, 462 F. App'x 31
(2d Cir. 2012) (collecting cases ) In ordering a recall, Judge
Baer noted prominently that Defendants continued to distribute
the enjoined models after receiving a cease and desist order
from Plaintiffs and the initiation of this lawsuit. (January
opinion, Dkt. no. l65 at 27) (“whatever the cost [of the recall]
may be, Defendants are primarily to blame for incurring these
costs, as they continued providing retailers with the Trimix
watches after this lawsuit began.”) In contrast, Defendants
have ceased selling the additional models until their status is

adjudicated. Furthermore, because these models do not directly

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infringe, the likelihood of diverting Plaintiffs’ customers and

the overall benefit to Plaintiffs is further lessened.

IV. Conclusion
For the reasons discussed above, Judge saer’s conclusion
that the enjoined watches are counterfeit is reversed upon
reconsideration and the final judgment will be modified to
reflect an award of single, not treble profits. The additional
Trimix watch models, SL-10540 and SL~l0542, will be added to the

list of specific models to be enjoined but will not be added to

the recall order.
80 ORDERED.

Dated: New York, New York
January 12, 2015

adler/agins

LORETTA A. PRESKA
Chief United States District Judge

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